                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                              Charlottesville Division

JOHN DOE,                                        )
                                                 )
       Plaintiff,                                )
                                                 )      Case No. 3:19-cv-38__________
v.                                               )
                                                 )
THE RECTOR AND VISITORS                          )
OF THE UNIVERSITY OF VIRGINIA,                   )
et al.                                           )
                                                 )
       Defendants.                               )

 PLAINTIFF’S MOTION TO PLACE DEFENDANTS’ EXHIBIT UNDER SEAL

       Plaintiff, John Doe (“Mr. Doe”), by counsel, for his Motion to Place Defendants’

Exhibit Under Seal, states at follows:

       1.     Defendants filed their response to Plaintiff’s motion for a temporary

restraining order and preliminary injunction on June 26, 2019 (Document 6).

       2.     Plaintiff filed a motion for leave to file under a pseudonym, to protect the

Plaintiff, Ms. Roe, and the witnesses, which has not yet been heard by the Court.

       3.     Attached to the Defendants’ response was a redacted version of the Final

Investigation Report in the underlying Title IX investigation involving Mr. Doe.

       4.     The Final Investigation Report, though names have been redacted, leaves

enough information to reveal the identity of Plaintiff, which could cause Plaintiff

irreparable harm.

       5.     Similarly, it leaves enough information to reveal the identity of Ms. Roe,

the complainant in this matter.

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       6.     Plaintiff moves the Court to place Defendants’ exhibit (Document 6-1)

under seal, pending the Court’s decision on Plaintiff’s motion for leave to file under a

pseudonym.

       WHEREFORE, John Doe respectfully requests Document 6-1 filed by Defendants

be placed under seal, and for all other relief the Court deems proper and appropriate.

                                                          JOHN DOE

                                                          By counsel

ST. JOHN, BOWLING, LAWRENCE & QUAGLIANA, LLP

By:    /s/ Rhonda Quagliana
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                             CERTIFICATE OF SERVICE

        I hereby certify that on June 26, 2019, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system which will send notification of such filing to
the following: counsel of record; and I hereby certify that I have mailed by United States
Postal Service the document to the following non-CM/ECF participants:

                                                          /s/ Rhonda Quagliana




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